     EXHIBIT 4




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MR DANIEL HOLLAND                                                                                                 Invoice #43468
CLEARSPAN COMPONENTS                                                                                                July 31, 2010
PO BOX 4195
MERIDIAN MS 39304-4195
                                                     Engineering Services


CompuTrus Software Issues
Checking nailing of hangers and connections. Communication regarding creep factor. Spoke with JJ regarding an apparent
bug in the CompuTrus software concerning the creep factor. Discussed creep factor program issues with Jerry.
Communication with Steve Marks about proposed procedure for applications involving the Creep Factor.
                                                                         Subtotal - CompuTrus Software Issues:           $319.70

Software Development
Assisted Dan Holland with a question concerning the use of Hankinson's equation for plate design. Assisted Dan Holland
with questions concerning Section 8.3.3.3.2 of TPI 1. Investigated plate analysis issue for Dan Holland.
                                                                                Subtotal - Software Development:           $79.35
Truss Design Process
Worked on repair details. Putting seals up on FTP site. Communication regarding designs and protocols. Updated and cleaned up notes
file.                                                                            Subtotal - Truss Design Process: $139.15
                                                                                                        Total Labor:      $538.20
                                                                                                       TOTAL (US$):       $538.20
                                                                                                 Qualtim Share 50%:      ($269.10)

                                                                                                       TOTAL (US$):       $269.10



                               Please make checks payable to Qualtim, Inc.
                                        Federal Tax ID: 391975714
    Payment terms are NET UPON receipt of invoice. Invoices that remain unpaid after 10 days are subject to an
              INTEREST CHARGE OF 1.5% PER MONTH, which is equivalent to 18% PER ANNUM.




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